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                YES, IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA



 SMARTMATIC USA CORP.,
 SMARTMATIC INTERNATIONAL
 HOLDING B.V., and SGO
 CORPORATION LIMITED,

                             Plaintiffs,
                      v.                        Case No. 22-cv-0098-JMB-JFD
 MICHAEL J. LINDELL and MY
 PILLOW, INC.,

                             Defendants.


 DECLARATION OF TIMOTHY M. FREY IN SUPPORT OF SMARTMATIC’S
          MOTION FOR PARTIAL SUMMARY JUDGMENT

I, Timothy M. Frey, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

       1.     I am over the age of 18, I am competent to make this declaration, and I have

personal knowledge of the facts stated herein. These facts are true to the best of my

knowledge, information, and belief, and if called upon to testify as a witness, I could and

would testify competently to them.

       2.     I am an attorney at the law firm Benesch, Friedlander, Coplan & Aronoff,

LLP, and I represent Plaintiffs Smartmatic USA Corp., Smartmatic International Holding

B.V., and SGO Corporation Limited (“Smartmatic”) in the above-captioned lawsuit.

       3.     Attached to Smartmatic’s Memorandum of Law in Support of Its Motion for

Summary Judgment are true and correct copies of the exhibits listed in the below Index.
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The exhibits listed in the Index are exhibits cites in Smartmatic’s Memorandum of Law in

Support of Its Motion for Summary Judgment.

      4.       Native versions of video files shall be provided to the Court, as indicated in

the Index.

INDEX OF EXHIBITS TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY
                          JUDGMENT

 Exhibit No.     Description
      1          June 11, 2024 Deposition of Michael J. Lindell
      2          Declaration of Antonio A. Mugica
      3          Nov. 19, 2020 New York Times, Giuliani makes accusations of fraud
                 that the Trump team has failed to support in court.
       4         Dec. 20, 2020 New York Times, The ‘Red Slime’ Lawsuit That Could
                 Sink Right-Wing Media
       5         December 10, 2020 retraction demand from Smartmatic to Fox News
                 Network
       6         Smartmatic v. Fox Complaint, Index No. 151136/2021 (Sup. Ct. N.Y.)
       7         January 25, 2021 Buzzfeed News, How “The Women For America
                 First” Bus Tour Led To The Capitol Coup Attempt
       8         Defendant Michael J. Lindell’s Original Answer, Counterclaims, And
                 Third-Party Complaint, U.S. Dominion, Inc., et al. v. MyPillow Inc., et
                 al., Case No. 1:21-cv-00445-CJN (D.D.C.)
     8(a)        Memorandum Opinion on Dominion’s Motion to Dismiss,
                 Smartmatic’s Motion to Dismiss, and Smartmatic’s Motion for Rule
                 11 Sanctions, U.S. Dominion, Inc., et al. v. MyPillow Inc., et al., Case
                 No. 1:21-cv-00445-CJN (D.D.C.)
     8(b)        Docket, U.S. Dominion, Inc., et al. v. MyPillow Inc., et al., Case No.
                 1:21-cv-00445-CJN (D.D.C.)
       9         February 5, 2021 Absolute Proof documentary
                 Video of full broadcast (provided to the Court in native form)
      10         April 3, 2021 Scientific Proof documentary
                 Video of full broadcast (provided to the Court in native form)
      11         April 22, 2021 Absolute Interference documentary
                 Video of full broadcast (provided to the Court in native form)
      12         June 5, 2021 Absolutely 9-0 documentary
                 Video of full broadcast (provided to the Court in native form)
      13         February 6, 2021 War Room podcast video
                 Video of full podcast appearance (provided to the Court in native


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Exhibit No.   Description
              form)
    14        March 26, 2021 War Room podcast video
              Video of full podcast appearance (provided to the Court in native
              form)
    15        April 9, 2021 War Room podcast video
              Video of full podcast appearance (provided to the Court in native
              form)
    16        May 3, 2021 War Room podcast video
              Video of full podcast appearance (provided to the Court in native
              form)
    17        May 8, 2021 War Room podcast video
              Video of full podcast appearance (provided to the Court in native
              form)
    18        February 8, 2021 Real America with Dan Ball broadcast
              Video of full TV appearance (provided to the Court in native form)
   19(a)      February 11, 2021 A Screening and Conversation of Absolute Proof
              documentary screening, Part 1
              Section of full broadcast (provided to the Court in native form)
   19(b)      February 11, 2021 A Screening and Conversation of Absolute Proof
              documentary screening, Part 2
              Section of full broadcast (provided to the Court in native form)
   19(c)      February 11, 2021 A Screening and Conversation of Absolute Proof
              documentary screening, Part 3
              Section of full broadcast (provided to the Court in native form)
    20        February 24, 2021 The Pete Santilli Show podcast video
              Video of full podcast appearance (provided to the Court in native
              form)
    21        March 30, 2021 Eric Metaxas Radio Show podcast video
              Video of full broadcast (provided to the Court in native form)
    22        April 1, 2021 Indivisible with John Stubbins podcast video
              Video of full podcast appearance (provided to the Court in native
              form)
    23        April 8, 2021 USA Watchdog with Greg Hunter podcast video
              Video of full podcast appearance (provided to the Court in native
              form)
    24        May 3, 2021 OANN Newsroom with Pearson Sharp broadcast
              Video of full TV appearance (provided to the Court in native form)
   25(a)      August 10–12, 2021 Mike Lindell’s Cyber Symposium livestream
              video capture, First Segment
              Video clip of defamatory segment (provided to the Court in native
              form)


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Exhibit No.   Description
   25(b)      August 10–12, 2021 Mike Lindell’s Cyber Symposium livestream
              video capture, Second Segment
              Video clip of defamatory segment (provided to the Court in native
              form)
   25(c)      August 10–12, 2021 Mike Lindell’s Cyber Symposium livestream
              video capture, Third Segment
              Video clip of defamatory segment (provided to the Court in native
              form)
    26        Reasoned Decision and Final Award, American Arbitration
              Association Commercial Arbitration Tribunal, Case No. 01-21-0017-
              1862, Zeidman v. Lindell Management, LLC
    27        Aug. 21, 2022 Springfield News-Leader, Majorie Taylor Greene
              speaks, and other takeaways from Mike Lindell’s Springfield event
    28        Aug. 17, 2022 The Daily Beast, Mike Lindell’s Wacky New Way to
              Fight Vote Fraud Might Get You Arrested
    29        February 5, 2021 Absolute Proof documentary
              Certified transcript
    30        Declaration of Dr. Jonah Berger
    31        September 12, 2023 Deposition of Dawn H. Curtis
    32        June 18, 2024 Deposition of Darren M. Lindell
    33        February 6, 2021 War Room podcast video
              Certified transcript
    34        February 8, 2021 Real America with Dan Ball broadcast
              Certified transcript
    35        February 11, 2021 A Screening and Conversation of Absolute Proof
              documentary screening
              Certified transcript
    36        February 24, 2021 The Pete Santilli Show podcast video
              Certified transcript
    37        March 26, 2021 War Room podcast video
              Certified transcript
    38        March 30, 2021 Eric Metaxas Radio Show podcast video
              Certified transcript
    39        April 1, 2021 Indivisible with John Stubbins podcast video
              Certified transcript
    40        April 3, 2021 Scientific Proof documentary
              Certified transcript
    41        April 8, 2021 USA Watchdog with Greg Hunter podcast video
              Certified transcript
    42        April 9, 2021 War Room podcast video
              Certified transcript


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Exhibit No.   Description
    43        April 22, 2021 Absolute Interference documentary
              Certified transcript
    44        May 3, 2021 War Room podcast video
              Certified transcript
    45        May 3, 2021 OANN Newsroom with Pearson Sharp broadcast
              Certified transcript
    46        May 8, 2021 War Room podcast video
              Certified transcript
    47        June 5, 2021 Absolutely 9-0 documentary
              Certified transcript
    48        August 10–12, 2021 Mike Lindell’s Cyber Symposium livestream
              video capture, First Segment
              Certified transcript
    49        August 10–12, 2021 Mike Lindell’s Cyber Symposium livestream
              video capture, Second Segment
              Certified transcript
    50        August 10–12, 2021 Mike Lindell’s Cyber Symposium livestream
              video capture, Third Segment
              Certified transcript
    51        FrankSpeech.com, Cyber Symposium Web Stream
    52        January 4, 2023 Updates On The Smartmatic Lawsuit and The Cast
              Vote Records, Frankspeech.com
              Certified transcript
    53        Declaration of Tammy Patrick
    54        Declaration of Dr. Alan T. Sherman
    55        Deposition Exhibit 623November 30, 2020 CBS News, Fired
              Director of U.S. Cyber Agency Chris Krebs Explains Why President
              Trump’s Claims of Election Interference Are False
    56        Deposition Exhibit 624, December 1, 2020 Associated Press,
              Disputing Trump, Barr says no widespread election fraud
    57        Deposition Exhibit 630, DEF004727–28, February 4–5, 2021
              Correspondence Between Michael J. Lindell and Counsel for
              Dominion
              Documents produced by Defendants
    58        July 14, 2023 Deposition of Jessica J. Maskovich
    59        [Omitted]
    60        August 27, 2024 Fed. R. Civ. P. 30(b)(6) Deposition of Michael J.
              Lindell
    61        Deposition Exhibit 641, DEF082645.000056–36, Text Message
              Exchange between Mike Lindell and Darren Lindell
              Document produced by Defendants


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Exhibit No.   Description
    62        August 24, 2023 Deposition of Todd L. Carter
    63        Excerpt from Deposition Exhibit 437, DEF034384.000084, Text
              Message Exchange Between Mike Lindell and Dawn Curtis
              Document produced by Defendants
    64        Defendants’ Reply to Plaintiffs’ First Set of Requests for Admission
    65        ECF No. 52, Order on Motion to Dismiss
    66        ECF No. 20, Memorandum of Points and Authorities in Support of
              Defendant Michael J. Lindell’s Motion to Dismiss
    67        Los Angeles County Final Official Canvass Election Returns,
              November 3, 2020 General Election
    68        California Secretary of State, Supplement to the Statement of Vote
              November 3, 2020: General Election Statewide Summary by County
              for President, Nov. 3, 2020, https://elections.cdn.sos.ca.gov/sov/2020-
              general/ssov/pres-summary-by-county.pdf
    69        MIT Technology Review, US election official: Trump’s
              misinformation is dangerous and lacks any credibility, November 13,
              2020,
              https://www.technologyreview.com/2020/11/12/1012115/senior-us-
              election-official-trumps-misinformation-is-insulting/
    70        Blaze, Matt, et al, Scientists Say No Credible Evidence of Computer
              Fraud in the 2020 Election Outcome, But Policymakers Must Work
              with Experts to Improve Confidence, November 16, 2020,
              https://www.cs.utexas.edu/~hovav/dist/election-statement.pdf
    71        Excerpt from H. Rept. No. 117-663, Final Report of the Select
              Committee to Investigate the January 6th Attack on the United States
              Capitol, December 22, 2022,
              https://www.govinfo.gov/app/details/GPO-J6-REPORT
    72        Nov. 16, 2020 Smartmatic press release, Smartmatic Fact-checked
    73        SMARTMATIC-LINDELL00017735
              Document produced by Smartmatic
    74        SMARTMATIC-LINDELL00018425
              Document produced by Smartmatic
    75        SMARTMATIC-LINDELL00018530
              Document produced by Smartmatic
    76        SMARTMATIC-LINDELL04945532
              Document produced by Smartmatic
    77        SMARTMATIC-LINDELL04945596
              Document produced by Smartmatic
    78        Defendant My Pillow, Inc’s Fourth Supplemental Answers and
              Objections to Plaintiffs’ Second Set of Interrogatories
    79        June 19, 2024 Deposition of James M. Furlong


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Exhibit No.   Description
    80        Deposition Exhibit 96, DEF036085.000037–38, Text Message
              Exchange between Mike Lindell and Jessica Maskovich
              Document produced by Defendants
    81        Deposition Exhibit 21, DEF026793, February 28, 2021 Email
              Exchange between mediainquiry@mypillow.com and Kim
              Rasmussen
              Document produced by Defendants
    82        DEF009449, July 30, 2021 Email Exchange Between Brad Carlon and
              Bob Sohns
              Document produced by Defendants
    83        Deposition Exhibit 666, DEF1127863, October 5, 2021 MyPillow
              Board Meeting Minutes
              Document produced by Defendants
    84        [Omitted]
    85        DEF116721, February 10, 2021 Email Exchange Between Todd
              Carter, Darren Lindell, and Jessica Maskovich
              Document produced by Defendants
    86        Deposition Exhibit 562, National Intelligence Council, Declassified
              Report on Foreign Threats to the 2020 US Federal Elections
    87        Deposition Exhibit 347, DEF03186, July 14, 2021 Email Exchange
              Between Janet Lynn, Kurt Olsen, Todd Carter, and Mike Lindell
              Document produced by Defendants
    88        DEF002434, January 18, 2021 Email Exchange Between Mike
              Lindell and Bob Roepke
              Document produced by Defendants
    89        Deposition Exhibit 412, DEF006566, February 5, 2021 Email
              Exchange Between Dawn Curtis and Beth Schoeneberg
              Document produced by Defendants
    90        Deposition Exhibit 100, DEF015183, February 5, 2021 Email from
              Dawn Curtis to Liz Willis
              Document produced by Defendants
    91        Deposition Exhibit 427, DEF015184, February 5, 2021 Email from
              Dawn Curtis to lee@lifechangingradio.com
              Document produced by Defendants
    92        Deposition Exhibit 428, DEF016633, February 5, 2021 Email from
              Dawn Curtis to shilohtc@gmail.com
              Document produced by Defendants
    93        Deposition Exhibit 422, DEF016634, February 5, 2021 Email from
              Dawn Curtis to Mike Pooler
              Document produced by Defendants
    94        Deposition Exhibit 420, DEF016635, February 5, 2021 Email from


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Exhibit No.   Description
              Dawn Curtis to Woody Zimmerman
              Document produced by Defendants
    95        Deposition Exhibit 414, DEF016737, February 5, 2021 Email from
              Dawn Curtis to Kip Kuroski
              Document produced by Defendants
    96        Deposition Exhibit 421, DEF018055, February 5, 2021 Email from
              Dawn Curtis to Annie Marie Delgado
              Document produced by Defendants
    97        Deposition Exhibit 418, DEF018146, February 5, 2021 Email
              Exchange Between Dawn Curtis and Kathleen Bensi
              Document produced by Defendants
    98        Deposition Exhibit 426, DEF019435, February 5, 2021 Email from
              Dawn Curtis to Patrick Coffin
              Document produced by Defendants
    99        Deposition Exhibit 415, DEF019495, February 5, 2021 Email
              Exchange Between Dawn Curtis and Nick Brino
              Document produced by Defendants
    100       [Omitted]
    101       Deposition Exhibit 424, DEF020883, February 5, 2021 Email from
              Dawn Curtis to aaronimholteradio@gmail.com
              Document produced by Defendants
    102       Deposition Exhibit 419, DEF022390, February 5, 2021 Email from
              Dawn Curtis to Caleb Svendsen
              Document produced by Defendants
    103       Deposition Exhibit 413, DEF022482, February 5, 2021 Email
              Exchange Between Jerry Schesso and Dawn Curtis
              Document produced by Defendants
    104       Deposition Exhibit 425, DEF025202, February 5, 2021 Email from
              Dawn Curtis to Sara Carter
              Document produced by Defendants
    105       Deposition Exhibit 423, DEF025203, February 5, 2021 Email from
              Dawn Curtis to Mark Anthony
              Document produced by Defendants
    106       Deposition Exhibit 417, DEF025299, February 5, 2021 Email
              Exchange Between Dawn Curtis and shilohtc@gmail.com
              Document produced by Defendants
    107       Deposition Exhibit 443, DEF014307, March 31, 2021 Email from
              Dawn Curtis to Steve Dubbels
              Document produced by Defendants
    108       Deposition Exhibit 445, DEF030240, March 31, 2021 Email
              Exchange Between Dawn Curtis and Mark Blattterfein


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Exhibit No.   Description
              Document produced by Defendants
    109       [Omitted]
    110       Deposition Exhibit 102, DEF023077, July 30, 2021 Email Exchange
              Between Dawn Curtis and InfoWars
              Document produced by Defendants
    111       Deposition Exhibit 451, DEF017531, April 21, 2021 Email Exchange
              Between Katelyn Gamlin, Dawn Curtis, and Pete Santilli
              Document produced by Defendants
    112       Deposition Exhibit 97, DEF015836, November 16, 2021 Email
              Exchange Between Darren Lindell, Jazmin Kampen, David
              Grapentine, Alex Ullmann, and David Lawrence
              Document produced by Defendants
    113       February 5, 2021 Absolute Proof documentary
              Video clip (provided to the Court in native form)
    114       February 6, 2021 War Room podcast video
              Video clip (provided to the Court in native form)
    115       February 8, 2021 Real America with Dan Ball broadcast
              Video clip (provided to the Court in native form)
    116       February 11, 2021 A Screening and Conversation of Absolute Proof
              documentary screening
              Video clip (provided to the Court in native form)
    117       February 24, 2021 The Pete Santilli Show podcast video
              Video clip (provided to the Court in native form)
    118       March 30, 2021 Eric Metaxas Radio Show podcast video
              Video clip (provided to the Court in native form)
    119       April 1, 2021 Indivisible with John Stubbins podcast video
              Video clip (provided to the Court in native form)
    120       April 8, 2021 USA Watchdog with Greg Hunter podcast video
              Video clip (provided to the Court in native form)
    121       April 22, 2021 Absolute Interference documentary
              Video clip (provided to the Court in native form)
    122       May 3, 2021 OANN Newsroom with Pearson Sharp broadcast
              Video clip (provided to the Court in native form)
    123       May 8, 2021 War Room podcast video
              Video clip (provided to the Court in native form)
    124       August 10–12, 2021 Mike Lindell’s Cyber Symposium livestream
              video capture
              Video clip from Exhibit 25(a) (provided to the Court in native form)
    125       March 30, 2021 Eric Metaxas Radio Show podcast video
              Video clip (provided to the Court in native form)
    126       April 1, 2021 Indivisible with John Stubbins podcast video


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 Exhibit No.     Description
                 Video clip (provided to the Court in native form)
      127        April 8, 2021 USA Watchdog with Greg Hunter podcast video
                 Video clip (provided to the Court in native form)
      128        January 4, 2023 Updates On The Smartmatic Lawsuit and The Cast
                 Vote Records, Frankspeech.com
                 Video clip of defamatory segment (provided to the Court in native
                 form)
      129        Deposition Exhibit 660, SMARTMATIC-LINDELL00000006,
                 SMARTMATIC-LINDELL00000031, SMARTMATIC-
                 LINDELL00000060, MyPillow Warehouse Inspection Photos


I declare under penalty of perjury under the laws of the United States that the foregoing is
true and correct.




                                           Timothy M. Frey


Executed on November 13, 2024




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